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BakerHostetler

Bakers Hostetler LLP

45 Rockefeller Plaza
New York, NY 10111

T 212.589.4200
F 212.589.4201
www.bakerlaw.com

Amy J. Traub
direct dial: 212.589.4248

atraub@bakerlaw.com
October 30, 2020

VIA ECF

The Honorable Analisa Torres

United States District Judge

U.S. District Court for the Southern District of New York
500 Pear] Street

New York, NY 10007

Re: — Daniel Barthole v. National Securities Corporation et al.
Case No. 1:20-CV-536 (AT)

Dear Judge Torres:

This Firm represents Defendants National Securities Counsel and Forte Capital Group,
Inc. in the above-referenced matter. I write, pursuant to Rule I(C) of Your Honor’s Individual
Practices in Civil Cases, to request a brief adjournment of the November 9, 2020 Initial Pre-
Trial Conference (IPTC) (see Doc. No. 29) in this action. The reason for this request is because
neither I nor my Associate are available on this date due to a previously scheduled mediation
and another court conference. For the same reason, Defendants also request that the deadline
to submit a joint letter and proposed Case Management Plan and Scheduling Order, which is
currently on November 2, 2020, be adjourned to a date that is one week before any rescheduled

IPTC date.

This is the first request to adjourn the above-referenced deadlines. Plaintiffs counsel
consents to this request. The parties have conferred and are available to attend an IPTC on
November 18 or 19, or on another date at the Court’s convenience. We thank the Court for its
consideration of this request.

GRANTED. The initial pretrial conference scheduled for November 9, 2020, is ADJOURNED to November 18,
2020, at 11:00 a.m. By November 11, 2020, the parties shall submit their joint letter and proposed case
management plan.

SO ORDERED. O}-

Dated: November 2, 2020 ANALISA TORRES
New York, New York United States District Judge

 
